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8/9/2018

The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan

Dear Judge Sorokin:

It is my honor to write this letter on behalf of my friend Ross McLellan, who has been an
unwavering friend to myself and countless others over the years.

My involvement with Ross actually started before I knew him. He has four wonderful
children, two of whom, Le IRE ave overlapped in youth baseball and hockey with

my two oldest boys,

Through the first few years of athletics our children were not on the same team, but that
didn’t mean that Ross was not impacting my kids’ lives.

1 would watch in wonderment as at every practice or game, there would be a mass
gathering around Ross, without fail. It would include everyone: kids, parents, coaches,
opponents, referees, whoever was near him would gravitate toward him. He has a magnetic
personality that is without equal. However, what sets him apart from so many is his ability
to use that personality to make everyone around him feel special. He has an amazing ability
to connect personally with everyone he meets, even if only for a few seconds, to offer them
something that has true meaning for them.

As it pertains to my middle child, he is shy socially and does not have a lot of confidence.

Getting him to games and practices was a chore, one that gave me great stress, as it was a
constant battle. I noticed after a few weeks that he was no longer fighting me on going to

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practice and games. He became much more comfortable socially, | noticed him talking to
the other kids around Ross as he was telling stories or congratulating the kids. Ross could
sense that my child was shy and nervous, and even though he did not know me or my child
at the time, he would call out my son’s number and tell him in front of the others that he
had made a great play. It made all the difference in the world for my son as the other kids
would repeat it to him, and the praise was something that coming from someone who is not
his parent, meant the world to him.

For Ross to do this for my son, who now plays with much more confidence, and is more at
ease socially, without knowing either of us, told me everything I needed to know about him.
He did this because he is a special person whose kindness to everyone knows no bounds.
He had nothing to gain from going out of his way to help my son and put him at ease. He did
it because that is the type of person he is. As a parent, when someone goes out of their way
to make your child’s life easier, there is no better feeling.

Shortly thereafter I introduced myself to Ross and thanked him for his overwhelming
kindness. It didn’t even register with him that he had done anything as it just happens
naturally for him.

We have since become friends and have coached hockey together over the past two
summers. In addition to the fun that always comes with spending time with Ross, it has
given me the great opportunity to spend some time with his two boys, Luke and Matty and
his wife Lisa.

I have tried in a way to repay Ross for his kindness to my son by doing the same for his two
oldest, but it didn’t come off as naturally as it does for Ross.

The two boys are the nicest and sweetest kids in town. They are exactly like their father in
that their network of friends is overwhelming. They are the happiest and most outgoing
children you will meet. Their house is the most popular around as Lisa and Ross have an
open-door policy, and the amount of traffic between ten and thirteen-year old’s who come
in empty handed and leave with ice cream is astounding.

Ross is truly a beacon of our community. He does everything for others, never thinking of
himself. He is a tireless contributor of his time to Hingham Youth Hockey and Hingham
Baseball. He wears many hats through these organizations from coaching to fundraising,
ordering equipment, setting up schedules for the teams, and of course driving all of the
kids. These are all unpaid positions, but he does it because he is a wonderful father, friend,
coach, and mentor to the kids.

My concern is that I will not adequately convey to you through this letter how impactful
Ross’ kindness has been on the development of my kids, as well as my personal friendship
with him.
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He has an amazing bond with our community and it would not surprise me if you receive
countless letters like mine, as our support for him is true and heartfelt.

We will support his children and Lisa during this difficult time with whatever they need,
but truly no one can replicate the relationships he has fostered and his impact on our

community.

He is the best of all things father, friend, community leader, coach, and human being. J am
honored to have him as a friend.

Please feel free to contact me or if there is anything else I can offer to assist in your process,
I would do so without hesitation.

Thank you.

Resp mitted, for Ross McLellan, by his friend,
Stephen H? Murray

Date: August 9, 2018
